      Case 1:25-cv-00234-RDM           Document 21       Filed 02/17/25      Page 1 of 15




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 JANE DOE, et al.,

                Plaintiffs,

        v.
                                                         Civil Action No. 25-234 (RDM)
 OFFICE OF PERSONNEL
 MANAGEMENT,

                Defendant.


                          MEMORANDUM OPINION AND ORDER

       In late January 2025, the Office of Personnel Management (“OPM”) began to test “‘a

new capability allowing it to send important communications to ALL civilian federal employees

from a single email address,’” and OPM subsequently began using this new system to send

messages “to most if not all individuals with Government email addresses.” Dkt. 14 at 4–5 (Am.

Compl. ¶¶ 20, 22) (quoting OPM statement). That new system uses the email address

HR@opm.gov and is known as the “Government-Wide Email System” or “GWES.” Id. at 2–3

(Am. Compl. ¶ 10). This putative class action challenges the process by which OPM

implemented this new system.

       Plaintiffs are two federal executive branch employees and five other individuals who

have “.gov” email addresses but are not executive branch employees. See id. at 1–2 (Am.

Compl. ¶¶ 3–10). They contend that in the rush to adopt this new system, OPM at first entirely

failed to comply with Section 208 of the E-Government Act of 2002, which requires the

preparation of a Privacy Impact Assessment (“PIA”) before “initiating a new collection of

[certain] information . . . using information technology,” 44 U.S.C. § 3501 note, Pub. L. No.
      Case 1:25-cv-00234-RDM            Document 21         Filed 02/17/25      Page 2 of 15




107-347, § 208, 116 Stat. 2899, 2921-22 (Dec. 17, 2002) (hereinafter “E-Government Act”), and,

then, when confronted with that omission, immediately threw together an inaccurate,

insufficient, and unconsidered PIA in the hope of mooting the case. According to Plaintiffs,

OPM’s failure to prepare a meaningful Privacy Impact Assessment has left vast amounts of

private information, including the government email addresses of millions of individuals (which

reveal their names and, at least in some cases, their employers) at risk of disclosure in the event

that the GWES is hacked.

       OPM, for its part, contends that it was not required to prepare a PIA because, on OPM’s

reading, Section 208 does not apply to the collection of information about government

employees, as opposed to about members of the public. And, even if that contention is wrong—

either because it has misread the statute or because OPM inadvertently collected email addresses

from individuals who do not work for the federal government but nonetheless use .gov or .mil

email addresses—OPM, in any event, has now prepared a PIA. That is all that is required, on

OPM’s telling, and the Court lacks the authority to examine the “substance and accuracy” of the

PIA that the agency prepared. Dkt. 17-1 at 15.

       Pending before the Court is Plaintiffs’ motion for a temporary restraining order (“TRO”),

Dkt. 15, which asks the Court to enjoin OPM “from continuing to operate the Government-Wide

Email System or any computer system connected to it prior to the completion and public release

of a required legally sufficient Privacy Impact Assessment.” Dkt. 15-2 at 1. But Plaintiffs have

failed to carry their burden of demonstrating (1) that they likely have standing to bring this

action, and (2) that they are likely to suffer irreparable injury in the absence of emergency relief.

The Court will, accordingly, DENY Plaintiffs’ motion.




                                                  2
       Case 1:25-cv-00234-RDM            Document 21        Filed 02/17/25      Page 3 of 15




                                        I. BACKGROUND

A.      Regulatory Background

        “In 2002, the Congress passed the E-Government Act to streamline government use of

information technology ‘in a manner consistent with laws regarding protection of personal

privacy, national security, records retention, access for persons with disabilities, and other

relevant laws.’” EPIC v. Presidential Advisory Comm’n on Election Integrity, 878 F.3d 371, 375

(D.C. Cir. 2017). Among other provisions of the Act, Section 208 requires federal agencies to

prepare PIAs “before (i) developing or procuring information technology that collects, maintains,

or disseminates information that is in an identifiable form” or “(ii) initiating a new collection of

information that . . . will be collected, maintained, or disseminated using information technology;

and . . . includes any information in an identifiable form permitting the . . . online contacting of a

specific individual, if identical questions have been posed to, or identical reporting requirements

imposed on, 10 or more persons, other than agencies, instrumentalities, or employees of the

Federal Government.” E-Government Act, § 208(b)(1)(A). In 2003, the Office of Management

and Budget (“OMB”) issued guidance, construing Section 208 to require preparation of “a PIA

before . . . developing or procuring IT systems or projects that collect, maintain or disseminate

information in identifiable form from or about any member of the public.” See M-03-22, OMB

Guidance for Implementing the Privacy Provisions of the E-Government Act of 2002, Att. A,

Sec. II(B)(a)(1) (Sept. 26, 2003) (hereinafter “OMB Guidance”). According to that guidance,

“[n]o PIA is required where information relates to internal government operations,” including

when information is collected “for government-run . . . IT systems . . . to the extent that they do

not collect or maintain information in identifiable form about members of the general public.”

Id. at Sec. II(B)(c).



                                                  3
      Case 1:25-cv-00234-RDM            Document 21        Filed 02/17/25      Page 4 of 15




       When an agency is required to prepare a PIA, the agency’s “Chief Information Officer, or

equivalent official, as determined by the head of the agency,” must review the PIA, and, “[i]f

practicable,” the PIA must then be made “publicly available through the website of the agency,

publication in the Federal Register, or other means.” E-Government Act, § 208(b)(1)(B). The

statute also instructs OMB to “issue guidance to agencies specifying the required contents” of a

PIA, and stipulates that such guidance must require at least that PIAs identify the information to

be collected, why it is being collecting, the intended use of the information, “with whom the

information will be shared,” “what notice of opportunity for consent would be provided to

individuals regarding what information is collected and how that information is shared,” “how

the information will be secured,” and whether the information will be maintained in a system of

records for purposes of the Privacy Act, 5 U.S.C. § 552a. E-Government Act, § 208(b)(2)(B).

       The OMB Guidance, in turn, specifies that PIAs must (in addition to addressing the

considerations required by the E-Government Act) “identify what choices the agency made . . .

as a result of performing the PIA.” OMB Guidance, Att. A, Sec. II(C)(a)(2). It also instructs

that “[t]he depth and content of the PIA should be appropriate for the nature of the information to

be collected and the size and complexity of the IT system.” Id. at Sec. II(C)(b)(1). “Major

information systems,” for example, should “reflect more extensive analysis” of the consequences

and alternatives to collection, whereas “routine database systems” can be assessed using a

“standardized approach (e.g., checklist or template).” Id. at Sec. II(C)(b)(1)(2), (3).

B.     Factual Background

       Summarizing the relevant factual background presents a unique challenge in this case

because OPM has yet to submit an administrative record, and Plaintiffs cite to a series of news

reports but have failed to offer any declarations or other evidence in support of their motion. As



                                                  4
      Case 1:25-cv-00234-RDM            Document 21       Filed 02/17/25      Page 5 of 15




far as the Court can discern, however, the following facts are either uncontested or are reflected

in the one administrative document before the Court, the February 5, 2025 PIA prepared by

OPM and reviewed by the agency’s newly installed Chief Information Officer, Greg Hogan.

Dkt. 10-1.

       Three days after the presidential transition, OPM issued a statement indicating that it was

“testing a new capability allowing it to send important communications to ALL civilian federal

employees from a single email address,” HR@opm.gov. Dkt. 14 at 4–5 (Am. Compl. ¶¶ 20–21).

Since then, OPM has sent several email messages to large swaths of the executive branch

workforce, and, perhaps inadvertently, to a host of others, including (apparently) members and

staff of the federal judiciary, government contractors, state employees with .gov email addresses,

and employees of agencies in the legislative branch. OPM launched this effort without

conducting a PIA in advance.

       Two federal employees initiated this action on January 27, 2025, alleging that OPM was

acting in violation of Section 208 of the E-Government Act, Dkt. 1, and they filed a motion for a

TRO on February 4, 2025, Dkt. 4. The emergency relief that Plaintiffs sought was an order

barring OPM from operating “any computer systems connected to the HR@opm.gov address . . .

prior to the completion and public release of a required Privacy Impact Assessment.” Dkt. 4-2 at

1. OPM responded to that motion the following day, and the agency attached to its opposition a

“Privacy Impact Assessment for Government-Wide Email System (GWES),” dated February 5,

2025. See Dkt. 10, Dkt. 10-1.

       The Court held a hearing on the motion on February 6, 2025, and denied the motion as

moot. See Min. Entry (Feb. 6, 2025). As the Court explained, because OPM had conducted a

PIA, the relief that Plaintiffs sought was no longer meaningful; there was no reason for the Court



                                                 5
       Case 1:25-cv-00234-RDM            Document 21         Filed 02/17/25      Page 6 of 15




to issue an order barring OPM from using computer systems connected to the HR@opm.gov

email address because the condition precedent that Plaintiffs themselves specified had already

been satisfied. Nor was the Court persuaded by the arguments that Plaintiffs’ counsel presented

for the first time at the hearing. In particular, Plaintiffs’ counsel argued that the February 5 PIA

was inadequate. As the Court explained, however, neither Plaintiffs’ complaint nor their then-

pending motion for a TRO challenged the adequacy of the PIA—which post-dated both filings.

Finally, the Court expressed skepticism that the two Plaintiffs, both current federal employees,

could challenge the PIA, given Section 208’s focus on the general public.

       On February 7, 2025, Plaintiffs filed an amended complaint that made two significant

changes to their case. Dkt. 14 (Am. Compl.). First, they added five new plaintiffs, each of

whom has a .gov email address, but none of whom work in the executive branch of the United

States government. Id. at 2–3 (Am. Compl.). Second, Plaintiffs challenged the adequacy of the

February 5 PIA. Id. at 9–12 (Am. Compl.). That same day, the expanded group of Plaintiffs

filed a renewed motion for a TRO. Dkt. 15. On February 11, 2025, OPM responded both by

opposing Plaintiffs’ motion for a TRO and by moving to dismiss Plaintiffs’ amended complaint

for lack of jurisdiction and for failure to state a claim. Dkt. 16. Plaintiffs filed a reply on

February 13, 2025, Dkt. 18, and the Court held a hearing on the renewed motion the following

day. Plaintiffs have failed to offer any evidence, other than news stories and a podcast, in

support of their motion, and, instead, suggested (incorrectly) that the Court should simply treat

their as-of-yet uncontroverted allegations as true.

       Plaintiffs’ renewed motion for a TRO is now ripe for decision.




                                                   6
      Case 1:25-cv-00234-RDM             Document 21        Filed 02/17/25      Page 7 of 15




                                          II. ANALYSIS

       A TRO is “an extraordinary form of relief,” Banks v. Booth, 459 F. Supp. 3d 143, 149

(D.D.C. 2020), which a court should grant only under extraordinary circumstances. Although

considered on an abbreviated schedule and without the benefit of a complete record, the same

factors the apply to a motion for a preliminary injunction apply to a motion for a TRO. Most

critically, a TRO “may only be awarded upon a clear showing that the plaintiff is entitled to [the

requested] relief.” Id. (quoting Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)). A TRO

is not merely a means of maintaining the status quo while a plaintiff prepares a motion for a

preliminary injunction and the defendant prepares its opposition brief. Rather, as with a motion

for a preliminary injunction, federal courts are empowered to grant relief if and only if the

moving party has established “[1] that he is likely to succeed on the merits, [2] that he is likely to

suffer irreparable harm in the absence of preliminary relief, [3] that the balance of equities tips in

his favor, and [4] that an injunction is in the public interest.” Aamer v. Obama, 742 F.3d 1023,

1038 (D.C. Cir. 2014) (alterations in original) (quotation marks omitted). When seeking such

relief, “the movant has the burden to show that all four factors, taken together, weigh in favor of

the injunction.” Abdullah v. Obama, 753 F.3d 193, 197 (D.C. Cir. 2014) (quoting Davis v.

Pension Benefit Guar. Corp., 571 F.3d 1288, 1292 (D.C. Cir. 2009)) (internal quotation marks

omitted).

       The Court’s inquiry begins and ends with Plaintiffs’ asserted injuries, which must satisfy

two important requirements before the Court can grant emergency relief:

       First, to obtain a TRO, a plaintiff must demonstrate that it is likely that she has standing

to pursue the claim at issue, and absent that showing, the Court may not grant relief. See Nat’l

Wildlife Fed’n v. Burford, 835 F.2d 305, 328 (D.C. Cir. 1987) (Williams, J., concurring and



                                                  7
      Case 1:25-cv-00234-RDM            Document 21        Filed 02/17/25      Page 8 of 15




dissenting) (noting that a party seeking preliminary injunctive relief must demonstrate a

likelihood of success, which “necessarily includes a likelihood of the court’s reaching the merits,

which in turn depends on a likelihood that [the] plaintiff has standing”); see also Nguyen v. U.S.

Dep’t of Homeland Sec., 460 F. Supp. 3d 27, 33 (D.D.C. 2020) (“In the context of a temporary

restraining order or preliminary injunction, courts ‘require the plaintiff to show a substantial

likelihood of standing under the heightened standard for evaluating a motion for summary

judgment.’” (quoting EPIC, 878 F.3d at 377)). In short, “[a] plaintiff unlikely to have standing is

ipso facto unlikely to succeed, and when the plaintiff is unlikely to succeed, ‘there is no need to

consider the remaining factors.’” EPIC, 878 F.3d at 375 n.2 (quoting Greater New Orleans Fair

Hous. Action Ctr. v. HUD, 639 F.3d 1078, 1088 (D.C. Cir. 2011)).

       Second, “a showing that irreparable injury is ‘likely’ is the sine qua non for obtaining a

preliminary injunction—it is what justifies the extraordinary remedy of granting relief before the

parties have had the opportunity fully to develop the evidence and fully to present their

respective cases.” Achagzai v. Broad. Bd. of Governors, 2016 WL 471274, at *3–4 (D.D.C. Feb.

8, 2016); see also California Ass’n of Private Postsecondary Schools v. DeVos, 344 F. Supp. 3d

158, 167 (D.D.C. 2018); Texas Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 241–42 (D.D.C.

2014); Trudeau v. FTC, 384 F. Supp. 2d 281, 296 (D.D.C. 2005), aff’d, 456 F.3d 178 (D.C. Cir.

2006). “A movant’s failure to show any irreparable harm is therefore grounds for refusing to

issue a preliminary injunction, even if the other three factors entering the calculus merit such

relief.” Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006).

       Here, Plaintiffs premise their motion for preliminary relief on two alleged injuries: first,

that they are suffering an ongoing injury simply because their “information [is] being stored in

an insecure system,” Dkt. 18 at 3 (emphasis removed), and second, that their information is



                                                  8
      Case 1:25-cv-00234-RDM            Document 21        Filed 02/17/25      Page 9 of 15




“more vulnerable to hacking because it is in a system that is vulnerable to hacking,” Feb. 14,

2025 Hrg. Tr. (Rough at 15); see also Dkt. 15 at 23. 1 Plaintiffs, however, have failed to carry

their burden with respect to establishing that they have a “substantial likelihood of standing”

based on either injury, Nguyen, 460 F. Supp. 3d at 33, let alone that those injuries are “certain”

enough and “great” enough to warrant preliminary injunctive relief, Wisconsin Gas Co. v. FERC,

758 F.2d 669, 674 (D.C. Cir. 1985).

                                                 A.

       “To establish standing, a party must demonstrate: ‘(1) an injury in fact that is concrete

and particularized as well as actual or imminent; (2) a causal connection between the injury and

the challenged conduct; and (3) a likelihood, as opposed to mere speculation, that the injury will

be redressed by a favorable decision.’” Nat. Res. Def. Council v. Wheeler, 955 F.3d 68, 76 (D.C.

Cir. 2020) (quoting Nat. Res. Def. Council v. EPA, 755 F.3d 1010, 1016 (D.C. Cir. 2014)). Here,

OPM focuses on Plaintiffs’ failure at the first step in this inquiry—they have failed to identify an

“injury in fact” that is “concrete and particularized” and “actual or imminent, not conjectural or

hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 55, 560–61 (1992). It bears emphasis,

moreover, that a plaintiff cannot establish standing by merely asserting that the government has

failed to follow a required procedure (say, for example, failing to conduct a PIA), since “bare

procedural violation[s], divorced from any concrete harm” do not “satisfy the injury-in-fact

requirement of Article III.” Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016).




1
  In its opposition brief, OPM identified an alternative potential source of injury to Plaintiffs—
informational injury—and argued that the relevant standard is not satisfied here. See Dkt. 17-1
at 13. Plaintiffs, however, have never pressed this theory of standing and, indeed, when asked
repeatedly at oral argument to identify every possible injury that they rely upon, Plaintiffs said
nothing about informational standing.

                                                 9
      Case 1:25-cv-00234-RDM            Document 21        Filed 02/17/25       Page 10 of 15




       As the Supreme Court has explained, not every statutory violation results in the type of

concrete injury-in-fact sufficient to support Article III standing. TransUnion LLC v. Ramirez,

594 U.S. 413, 425 (2021). Rather, “Article III standing requires a concrete injury even in the

context of a statutory violation.” Spokeo, 578 U.S. at 341. The question, then, is “[w]hat makes

a harm concrete for purposes of Article III?” TransUnion LLC, 594 U.S. at 424. To answer that

question in a case like this one, which does not involve an alleged constitutional violation,

Plaintiffs must “identif[y] a close historical or common-law analogue for their asserted

injur[ies].” Id. at 425. In TransUnion, for example, a credit reporting agency had erroneously

placed Office of Foreign Assets Control or “OFAC” alerts in the plaintiffs’ credit reports,

“labeling them as potential terrorists.” Id. at 431. The Supreme Court assumed that the credit

reporting agency “violated its obligations under the Fair Credit Reporting Act” to maintain

accurate information about consumers. Id. But the Court held that plaintiffs whose information

had not been communicated to third parties lacked standing to bring that claim. The Court

explained that an uncommunicated erroneous OFAC alert was not a “concrete injury” because

“there is no historical or common-law analog” to this type of harm. Id. at 434 (quotation marks

omitted). Instead, “the plaintiffs’ harm [wa]s roughly the same, legally speaking, as if someone

wrote a defamatory letter and then stored it in her desk drawer.” Id. Thus, “the mere existence”

of an incorrect OFAC alert in a consumer’s credit file—even if a violation of federal law—was

“insufficient to confer Article III standing.” Id.

       Here, neither of the injuries that Plaintiffs have identified at this stage of proceeding are

sufficient to confer Article III standing. Plaintiffs’ first alleged injury—the mere fact that their

.gov email addresses are being stored on an allegedly unsecured system—cannot survive

TransUnion. Even assuming that Plaintiffs’ .gov email addresses are being held on an unsecured



                                                  10
        Case 1:25-cv-00234-RDM            Document 21        Filed 02/17/25     Page 11 of 15




system, that alleged injury is no more concrete or actual than the alleged injury of those members

of the TransUnion class who complained about uncommunicated erroneous OFAC alerts.

Moreover, rather than identify any common-law analogues, as TransUnion requires, Plaintiffs

instead resort to a policy argument unmoored to Article III. They contend that, if standing is

unavailable here,

          the only way that any court could ever enjoin any agency from operating an
          insecure system to prevent it from being hacked would be if it had already been
          hacked, at which point an injunction would be pointless.

Dkt. 18 at 3. 2 But it is not the job of the federal courts to police the security of the information

systems in the executive branch, just as it is not the job of the federal courts to police the internal

notations on consumers’ credit reports. See TransUnion LLC, 594 U.S. at 434.

          Plaintiffs’ second theory of standing, which posits that the OPM computers that are

connected to the GWES are vulnerable to hacking, fares no better. Although an actual hacking

incident or an imminent hack might suffice, Article III requires more than a possibility of future

harm—a “theory of future injury” must be “certainly impending” and non-speculative. Clapper

v. Amnesty Intern. USA, 568 U.S. 398, 401 (2013) (internal quotation marks omitted). Here, at

least on the present record, Plaintiffs have failed to carry their burden of demonstrating that their

.gov email addresses (which reveal their names and, possibly, their places of employment) are at


2
    Plaintiffs also conjure a hypothetical, asking the Court to

          imagine a scenario in which an agency posted a list of its employees’ social
          security numbers on its website and then argued that no court could make it take
          the list down until someone’s identity was stolen.

Dkt. 18 at 3. But that hypothetical hurts Plaintiffs’ argument more than it helps. This case is
very different from a case in which the loss of sensitive personal information is a near certainty.
Just as TransUnion drew a distinction between those individuals whose erroneous credit reports
were shared with third parties and those whose erroneous reports were not, so too is a case where
personally identifying information has been published different from one where the harm is a
yet-unrealized risk of disclosure.
                                                   11
      Case 1:25-cv-00234-RDM            Document 21         Filed 02/17/25      Page 12 of 15




imminent risk of exposure outside the United States government—much less that this risk is a

result of OPM’s failure to conduct an adequate PIA. Rather, their arguments “rel[y] on a highly

attenuated chain of possibilities.” Id. at 410.

       Plaintiffs premise much of their argument on an earlier hack of OPM databases

containing sensitive information about millions of government employees, which occurred

almost a decade ago. Dkt. 15 at 4. But past is not always prologue, particularly when it comes

to Article III. Where, as here, a plaintiff seeks prospective, injunctive relief, the plaintiff must

demonstrate that she is “likely to suffer future injury from the” alleged unlawful conduct, and a

past violation will not suffice absent reason to believe it will occur again in the future. City of

Los Angeles v. Lyons, 461 U.S. 95, 106 (1983). Here, that means that Plaintiffs must do more

than point to a decade-old failure to protect sensitive data; they must show that OPM computer

systems that are connected to the GWES are at imminent risk of cyberattack and that this risk

would be mitigated were the agency required to conduct a new and improved PIA.

       As evidence that a hack is supposedly imminent, Plaintiffs point to a podcast on which an

anonymous “systems security expert” discusses potential vulnerabilities related to the GWES.

See Allison Gill, A Fork in the Road: Is Federal Employee Privacy Compromised? Mueller She

Wrote (Jan. 29, 2025), at https://www.muellershewrote.com/p/a-fork-in-the-road-is-federal-

employee (last accessed Feb. 14, 2025). 3 Although that podcast raises questions about the

process by which the GWES servers were set up, it does not provide any specific information



3
  According to a blurb accompanying the podcast, Plaintiffs’ counsel was the person who
introduced the podcast host to the “system security expert” who the host interviewed. Plaintiffs’
counsel has indicated that this expert is prepared to testify in this matter. Subject to the
governing rules, Plaintiffs are welcome to proffer whatever evidence they deem appropriate at a
later stage of the proceeding. For present purposes, however, the Court can consider only the
evidence that is before it.

                                                  12
      Case 1:25-cv-00234-RDM            Document 21        Filed 02/17/25      Page 13 of 15




that would permit the Court to conclude that the servers housing .gov email addresses collected

for purposes of the GWES are at imminent risk due to likely cyberattack. To the contrary, the

anonymous expert mostly addresses a past vulnerability that has since been rectified. He

explains that, when the GWES was first set up, hundreds of “host names” that “appeared” to be

linked to “internal” OPM systems (which included systems with names that indicated they were

“admin portals” or “security portals”) were made “accessible from the internet.” Id. But those

“host names” were later “redacted” and are no longer visible on the public domain. Id. The fact

that those systems were more visible than they should have been for some period of time after

the GWES was set up does not support Plaintiffs’ assertion that a hack is likely or imminent.

       Although the anonymous expert also stated that the GWES servers were possibly set up

in ways that were not “within the standard that you would consider an internal system to be held

to,” he also indicated that the system was protected in other ways, such as by a using “a web

application firewall from Akamai” that “provide[s] some degree of protection.” Id. The

evidence provided by the podcast is, therefore, mixed at best. More is required to satisfy Article

III, and more is required to demonstrate, as Plaintiffs must do to obtain emergency injunctive

relief, that they are likely to succeed in establishing standing to sue. The information that

Plaintiffs have offered does not satisfy Plaintiffs’ burden of showing that they face a concrete

and impending risk that their .gov email addresses will be misappropriated in the absence of

emergency injunctive relief—or that their proposed relief would redress that risk. This is not to

say that Plaintiffs will not be able to establish standing at a later stage of the proceeding. But

they have failed to carry their burden for purposes of obtaining a TRO.

       The Court, accordingly, concludes that Plaintiffs’ motion for a TRO fails because they

have not shown that they likely have standing to sue.



                                                 13
      Case 1:25-cv-00234-RDM            Document 21        Filed 02/17/25       Page 14 of 15




                                                  B.

       Although the Court need not reach the issue, the Court further concludes that Plaintiffs’

motion fails for a second, related reason. They have failed to carry their burden of demonstrating

that, absent emergency relief, they are like to suffer an irreparable injury.

       The D.C. Circuit “has set a high standard for irreparable injury.” Chaplaincy of Full

Gospel Churches, 454 F.3d at 297. To qualify, the injury must not only be unrecoverable, it

must also be “both certain and great; [and] it must be actual and not theoretical.” Wis. Gas Co.,

758 F.2d at 674. Here, it goes without saying that the mere fact that Plaintiffs’ .gov email

addresses are stored on an allegedly unsecure IT system does not—standing alone—amount to

irreparable injury. Nor can the Court conclude that the risk of some future harm due to a

potential hack of OPM, and disclosure of Plaintiffs’ .gov email addresses, is either “certain” or

“great.”

       For the reasons explained above, Plaintiffs have failed to demonstrate that there is a

significant risk that their .gov email addresses will be stolen or publicly disclosed in the next 14

days or that any such risk is a product of the inadequacies of OPM’s February 5 PIA. In

assessing irreparable injury, moreover, the Court must also consider the nature of the potential

injury. That matters because this is not a case in which Plaintiffs seek to protect highly sensitive

personal information, like tax records or sensitive medical files. Instead, they seek to protect

their work email addresses. The Court does not doubt that government employees, at times, have

a privacy interest in their work email addresses, which identify their names and oftentimes where

they work. In some cases, revealing that information could result in harassment or unwanted

attention. But, here, the seven named Plaintiffs have failed to offer any evidence that, even if a

massive hack were to occur due to OPM’s failure to prepare an adequacy PIA, the disclosure of



                                                  14
      Case 1:25-cv-00234-RDM           Document 21        Filed 02/17/25      Page 15 of 15




their .gov email addresses—along with millions of other .gov email addresses—would likely

subject them to personal harassment, much less that it would cause them a harm that is “certain”

and “great.” 4 Were this a case brought under the Freedom of Information Act (“FOIA”), the

Court might conclude that the agency is entitled to withhold the email addresses on the ground

that disclosure “would constitute a clearly unwarranted invasion of personal privacy,” 5 U.S.C.

§ 552(b)(6). But this is not a FOIA case, and the requirement for issuance of a TRO is far more

demanding.

       The Court, accordingly, concludes that Plaintiffs have failed to carry their burden of

demonstrating that they are likely to incur some irreparable injury if the Court does not enjoin

OPM from operating the GWES without first preparing a more robust and accurate PIA.

                                         CONCLUSION

       For all these reasons, Plaintiffs’ motion for a temporary restraining order, Dkt. 15, is

hereby DENIED.

       SO ORDERED.



                                                     /s/ Randolph D. Moss
                                                     RANDOLPH D. MOSS
                                                     United States District Judge


Date: February 17, 2025



4
  At oral argument, Plaintiffs’ counsel indicated that one of the Plaintiffs works for the Federal
Emergency Management Agency (“FEMA”), and he argued that associating her with FEMA
could invite harassment. See Feb. 14, 2025 Hrg. Tr. (Rough at 27). But that argument, raised by
counsel and without any evidentiary support, is insufficient to justify the issuance of a TRO.
And, in any event, the argument fails to address the more fundamental problem with Plaintiffs’
theory of irreparable injury; they have failed to offer evidence sufficient to permit the Court to
find that the risk of a breach is “certain”—or even likely to occur in the next 14 days.

                                                15
